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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-242V
                                       Filed: July 10, 2019
                                         UNPUBLISHED


    ANNA ROOF HARRELSON,

                          Petitioner,                         Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                           Administration (SIRVA)

                         Respondent.


Mary Lee Briggs, Briggs and Inglese, LLC, Charleston, SC, for petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On February 16, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
September 29, 2016. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

       On June 25, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent concluded that petitioner satisfied the criteria set forth in

1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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the Vaccine Injury Table and Qualifications and Aids to Interpretation regarding a
SIRVA Id. at 5.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
